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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

 AMERICAN PATENTS LLC,
                                                      CIVIL ACTION NO. 6:20-cv-742
       Plaintiff,
                                                      FIRST AMENDED COMPLAINT FOR
         v.                                           PATENT INFRINGEMENT

 ROKU, INC.,                                          JURY TRIAL DEMANDED


       Defendant.


              FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT

        Pursuant to Rule 15(a)(1)(B), Plaintiff American Patents LLC (“American Patents” or

“Plaintiff”) files this first amended complaint against Defendant Roku, Inc. (“Roku”), alleging,

based on its own knowledge as to itself and its own actions and based on information and belief

as to all other matters, as follows:

                                             PARTIES

        1.      American Patents is a limited liability company formed under the laws of the

State of Texas, with its principal place of business at 2325 Oak Alley, Tyler, Texas, 75703.

        2.      Roku, Inc. is a corporation duly organized and existing under the laws of

Delaware. Roku may be served through its registered agent Corporation Service Company, 211

E. 7th St., Suite 620, Austin Texas 78701.

                                  JURISDICTION AND VENUE

        3.      This is an action for infringement of United States patents arising under 35 U.S.C.

§§ 271, 281, and 284–85, among others. This Court has subject matter jurisdiction of the action

under 28 U.S.C. § 1331 and § 1338(a).
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       4.      This Court has personal jurisdiction over Roku pursuant to due process and/or the

Texas Long Arm Statute because, inter alia, (i) Roku has done and continues to do business in

Texas; (ii) Roku has committed and continues to commit acts of patent infringement in the State

of Texas, including making, using, offering to sell, and/or selling accused products in Texas,

and/or importing accused products into Texas, including by Internet sales and sales via retail and

wholesale stores, inducing others to commit acts of patent infringement in Texas, and/or

committing a least a portion of any other infringements alleged herein; and (iii) Roku is

registered to do business in Texas.

       5.      Venue is proper in this district pursuant to 28 U.S.C. § 1400(b). Venue is further

proper because Roku has committed and continues to commit acts of patent infringement in this

district, including making, using, offering to sell, and/or selling accused products in this district,

and/or importing accused products into this district, including by Internet sales and sales via

retail and wholesale stores, inducing others to commit acts of patent infringement in Texas,

and/or committing at least a portion of any other infringements alleged herein in this district.

Roku, Inc. has regular and established places of business in this district, including at least at

9606 N. Mopac Expressway, Suite 400, Austin, Texas 78759, as shown in the below screenshot

from Google Maps Street View:




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                                           BACKGROUND

       6.      The patents-in-suit generally pertain to communications networks and other

technology used in “smart” devices such as smartphones, smart TVs, and smart appliances. The

technology disclosed by the patents was developed by personnel at Georgia Institute of

Technology (“Georgia Tech”) and Nokia Corporation (“Nokia”).

       7.      Georgia Tech is a leading public research university located in Atlanta, Georgia.

Founded in 1885, Georgia Tech is often ranked as one of the top ten public universities in the

United States. The patents from Georgia Tech (“the Mody patents”) were developed by a

professor and a graduate student in Georgia Tech’s Electrical and Computer Engineering

department. The undergraduate and graduate programs of this department are often ranked in the

top five of their respective categories.

       8.      The Mody patents are related to Multi-Input, Multi-Output (MIMO) technology.

The inventors of the Mody patents were at the forefront of MIMO, developing, disclosing, and

patenting a solution for achieving both time and frequency synchronization in MIMO systems.

The Mody patents (or the applications leading to them) have been cited during patent prosecution

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hundreds of times, by numerous leading companies in the computing and communications

industries, including AMD, Alcatel Lucent, Altair, AT&T, Atheros, Blackberry, Broadcom,

Comcast, Ericsson, Facebook, HP, Hitachi, Huawei, Infineon, Intel, Interdigital, IBM, Kyocera,

Marvell, Matsushita, Mediatek, Motorola, NEC, Nokia, Nortel Networks, NXP, Panasonic,

Philips, Qualcomm, Realtek, Samsung, Sanyo, Sharp, Sony, STMicroelectronics, Texas

Instruments, and Toshiba.

       9.       Nokia is a Finnish multinational telecommunications, IT, and consumer

electronics company. Listed on both the Helsinki Stock Exchange and the New York Stock

Exchange, Nokia regularly makes the Fortune Global 500. Nokia has been the largest worldwide

vendor of mobile phones and smartphones and has been a major contributor to the mobile phone

industry.

       10.      The patent developed at Nokia (“the Rauhala patent”) is related to reduction of

interference in receivers with multiple antennas. The inventors of the Rauhala patent have a

combined fifty plus years of experience at Nokia and were prolific inventors for Nokia. Inventor

Jyri Rauhala spent over 25 years at Nokia. Mr. Rauhala obtained a Master of Science in Applied

Electronics, Digital Electronics from Tampere University of Technology in Finland and is named

as an inventor on 15 U.S. patents. Inventor Olli-Pekka Lunden spent over 8 years at Nokia. Dr.

Lunden obtained a Doctor of Science in Technology, Radio Engineering from Aalto University

and is named as an inventor on 5 U.S. patents. Currently, Dr. Lunden works as a university

lecturer at Tampere University of Technology in Finland. Inventor Marko Erkkila spent over

twenty years at Nokia. Mr. Erkkila obtained a Master of Science in Digital Signal Processing,

Electronics, Computer Science from Tampere University of Technology in Finland and is named

as an inventor on 6 U.S. patents.



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                                            COUNT I

                DIRECT INFRINGEMENT OF U.S. PATENT NO. 7,088,782

       11.     On August 8, 2006, United States Patent No. 7,088,782 (“the ‘782 Patent”) was

duly and legally issued by the United States Patent and Trademark Office for an invention

entitled “Time And Frequency Synchronization In Multi-Input, Multi-Output (MIMO) Systems.”

       12.     American Patents is the owner of the ‘782 Patent, with all substantive rights in

and to that patent, including the sole and exclusive right to prosecute this action and enforce the

‘782 Patent against infringers, and to collect damages for all relevant times.

       13.     Roku used products and/or systems including, for example, its Roku Ultra, Roku

Ultra LT, and Roku Streaming Stick+ families of products that include 802.11ac capabilities

(“accused products”):




(Source: https://www.roku.com/products/compare)




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(Source: https://www.roku.com/products/compare)

       14.     By doing so, Roku has directly infringed (literally and/or under the doctrine of

equivalents) at least Claim 30 of the ‘782 Patent. Roku’s infringement in this regard is ongoing.

       15.     Roku has infringed the ‘782 Patent by using the accused products and thereby

practicing a method for synchronizing a Multi-Input Multi-Output (MIMO) Orthogonal

Frequency Division Multiplexing (OFDM) system in time and frequency domains. For example,

the accused products support IEEE 802.11 n/ac standards and MIMO technology. According to

the IEEE 802.11n standard, the PLCP Protocol Data Unit (PPDU) has training fields and

signaling fields for helping in synchronizing the communication system.




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(Source: https://www.roku.com/products/compare)




      (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)


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(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




(Source: https://www.cnrood.com/en/media/solutions/Wi-

Fi_Overview_of_the_802.11_Physical_Layer.pdf)




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        16.     The methods practiced by Roku’s use of the accused products include producing a

frame of data comprising a training symbol that includes a synchronization component that aids

in synchronization, a plurality of data symbols, and a plurality of cyclic prefixes. For example,

as part of the 802.11n standard, two preamble formats are defined for frames: HT-mixed format

and HT-greenfield format. The non-HT and HT-mixed format preambles consist of training

symbols, data symbols and guard intervals/cyclic prefixes, and the training symbols (L-STF and

L-LTF fields) are and have been used for frame synchronization. Alternatively, on request from

accused products, an 802.11 n/ac compliant WiFi access point can act as a transmitter and

perform the step of producing a frame of data comprising a training symbol that includes a

synchronization component that aids in synchronization, a plurality of data symbols, and a

plurality of cyclic prefixes.




        (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




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(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




(Source: https://www.cnrood.com/en/media/solutions/Wi-

Fi_Overview_of_the_802.11_Physical_Layer.pdf)




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       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       17.     The methods practiced by Roku’s use of the accused products include

transmitting the frame over a channel. The data frames containing the preambles are transmitted

using one or more transmitting antennas. Alternatively, on request from an accused product, an

802.11 n/ac compliant WiFi access point can act as a transmitter and transmit the frame over a

channel using one or more transmitting antennas.




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       18.     The methods practiced by Roku’s use of the accused products include receiving

the transmitted frame. For example, the receiving antennas of the accused products can receive

the transmitted frames for further processing.


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       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       19.     The methods practiced by Roku’s use of the accused products include

demodulating the received frame. For example, the received data frames are demodulated using

the PLCP preambles.




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       20.     The methods practiced by Roku’s use of the accused products include

synchronizing the received demodulated frame to the transmitted frame such that the data

symbols are synchronized in the time domain and frequency domain. For example, different

fields of data like training symbols, cyclic prefixes and other signal bits are present in the

received frame. The training symbols (L-STF and L-LTF fields) help in synchronizing the frame

in both the time domain and frequency domain.




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(Source: https://www.roku.com/products/compare)




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




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(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




(Source: https://www.iith.ac.in/~tbr/teaching/docs/802.11-2007.pdf)

       21.    The methods practiced by Roku’s use of the accused products include wherein the

synchronizing in the time domain comprises coarse time synchronizing and fine time

synchronizing. For example, the demodulation of PPDU frames also includes detecting training

field bits and establishing a timing synchronization. This time synchronization would include

both coarse and fine time synchronization. In general, coarse time synchronization is done using

L-STF field and fine time synchronization is done using L-LTF field present in the preamble.




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(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




(Source: Introduction to MIMO Communications, Hampton, Jerry R. (2014))




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       (Source: Next Generation Wireless LANs: 802.11n and 802.11ac, Perahia, Eldad and

       Stacey, Robert)

       22.     Roku has had actual knowledge of the ‘782 Patent at least as of the date when it

was notified of the filing of this action. By the time of trial, Roku will have known and intended

(since receiving such notice) that its continued actions would infringe and actively induce and

contribute to the infringement of one or more claims of the ‘782 Patent.

       23.     American Patents has been damaged as a result of the infringing conduct by Roku

alleged above. Thus, Roku is liable to American Patents in an amount that adequately

compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

       24.     American Patents and/or its predecessors-in-interest have satisfied all statutory

obligations required to collect pre-filing damages for the full period allowed by law for

infringement of the ‘782 Patent.




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                                            COUNT II

                DIRECT INFRINGEMENT OF U.S. PATENT NO. 7,310,304

       25.     On December 18, 2007, United States Patent No. 7,310,304 (“the ‘304 Patent”)

was duly and legally issued by the United States Patent and Trademark Office for an invention

entitled “Estimating Channel Parameters in Multi-Input, Multi-Output (MIMO) Systems.”

       26.     American Patents is the owner of the ‘304 Patent, with all substantive rights in

and to that patent, including the sole and exclusive right to prosecute this action and enforce the

‘304 Patent against infringers, and to collect damages for all relevant times.

       27.     Roku made, had made, used, imported, provided, supplied, distributed, sold,

and/or offered for sale products and/or systems including, for example, its Roku Ultra, Roku

Ultra LT, and Roku Streaming Stick+ families of products that include 802.11ac capabilities

(“accused products”):




(Source: https://www.roku.com/products/compare)




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(Source: https://www.roku.com/products/compare)

       28.     By doing so, Roku has directly infringed (literally and/or under the doctrine of

equivalents) at least Claim 1 of the ‘304 Patent. Roku’s infringement in this regard is ongoing.

       29.     Roku has infringed the ‘304 Patent by making, having made, using, importing,

providing, supplying, distributing, selling or offering for sale products including an Orthogonal

Frequency Division Multiplexing (OFDM) transmitter. For example, the accused products

support IEEE 802.11 n/ac standards and MIMO technology. The IEEE 802.11n standard “uses

OFDM modulation to transmit all data.”




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       (Source:

       http://rfmw.em.keysight.com/wireless/helpfiles/89600b/webhelp/subsystems/wlan-

       mimo/Content/mimo_80211n_overview.htm)

       30.     The accused products include an encoder configured to process data to be

transmitted within an OFDM system, the encoder further configured to separate the data onto

one or more transmit diversity branches (TDBs). For example, the 802.11 ac standard is

backwards compatible with 802.11n and 802.11a. Thus, if a device, such as an accused product,

implements 802.11ac, then it also supports 802.11n and all previous versions of the WiFi

standards (i.e., IEEE 802.11 a/b/g/n). According to the IEEE 802.11n standard, an encoder block

is present in a transmitter section of general OFDM systems. The encoder(s) output(s) the data

onto multiple transmit chains (transmit diversity branches) for further processing.




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(Source: 802.11ac: A Survival Guide: Wi-Fi at Gigabit and Beyond, Gast, Matthew S.)




(Source: 802.11ac: A Survival Guide: Wi-Fi at Gigabit and Beyond, Gast, Matthew S.)




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




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       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       31.     The accused products include one or more OFDM modulators, each OFDM

modulator connected to a respective TDB, each OFDM modulator configured to produce a frame

including a plurality of data symbols, a training structure, and cyclic prefixes inserted among the

data symbols. For example, according to the IEEE 802.11n standard, a transmitter block would

contain different functional blocks which include constellation mappers, IDFT stage, and Guard

interval insertion. The constellation mapper maps the bits and the constellation points for

different modulation schemes like QPSK, BPSK, 16-QAM, and 64-QAM. Hence, there would

be modulator blocks for performing the modulation. After modulating the signal, it is converted




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into the time domain and is transmitted as frames of data. These transmitted frames include a

training structure, signal bits, cyclic prefixes and data bits.




        (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




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(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




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       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       32.    The accused products include one or more transmitting antennas in

communication with the one or more OFDM modulators, respectively, each transmitting antenna

configured to transmit the respective frame over a channel. The accused products support 802.11

a/b/g/n/ac WiFi standards and comprise one or more transmitting and one or more receiving

antennas. These transmitting antennas transmit multiple OFDM frames with various signal

fields over a channel. Thus, these transmitting antennas are connected to the OFDM modulators

to obtain the OFDM frames for further transmission.




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(Source: https://www.roku.com/products/compare)




(Source: http://rfmw.em.keysight.com/wireless/helpfiles/89600b/webhelp/subsystems/wlan-

mimo/Content/mimo_80211n_overview.htm)




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(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       33.     The accused products include wherein the training structure of each frame

includes a predetermined signal transmission matrix at a respective sub-channel, each training

structure adjusted to have a substantially constant amplitude in a time domain, and the cyclic

prefixes are further inserted within the training symbol, and wherein the cyclic prefixes within

the training symbol are longer than the cyclic prefixes among the data symbols, thereby

countering an extended channel impulse response and improving synchronization performance.

For example, a space time matrix is part of the data symbols and the training symbols in the

transmission data. This data is transmitted over different antennas. The WiFi standards use

guard intervals while transmitting frames to help the synchronization of frames at the receiver

end. These guard intervals are of different lengths for the preamble and data symbols. The

screenshots below show the Guard interval in the Long Training Field is 1.6 micro seconds, and


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the data field uses a Short guard interval of 0.4 micro seconds, so the cyclic prefix for the

training symbols is longer than the cyclic prefix for data symbols. The training symbols (L-STF,

HT-STF fields) in the 802.11n preamble have a constant amplitude in the time domain.




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




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(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




(Source: http://www.ahltek.com/WhitePaperspdf/802.11-20%20specs/802.11a-1999.pdf)




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(Source: Next Generation Wireless LANs: 802.11n and 802.11ac, Perahia, Eldad and Stacey,

Robert)

       34.     Roku has had actual knowledge of the ‘304 Patent at least as of the date when it

was notified of the filing of this action. By the time of trial, Roku will have known and intended

(since receiving such notice) that its continued actions would infringe and actively induce and

contribute to the infringement of one or more claims of the ‘304 Patent.

       35.     American Patents has been damaged as a result of the infringing conduct by Roku

alleged above. Thus, Roku is liable to American Patents in an amount that adequately

compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

       36.     American Patents and/or its predecessors-in-interest have satisfied all statutory

obligations required to collect pre-filing damages for the full period allowed by law for

infringement of the ‘304 Patent.


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                                           COUNT III

                DIRECT INFRINGEMENT OF U.S. PATENT NO. 7,706,458

       37.     On April 27, 2010, United States Patent No. 7,706,458 (“the ‘458 Patent”) was

duly and legally issued by the United States Patent and Trademark Office for an invention

entitled “Time And Frequency Synchronization In Multi-Input, Multi-Output (MIMO) Systems.”

       38.     American Patents is the owner of the ‘458 Patent, with all substantive rights in

and to that patent, including the sole and exclusive right to prosecute this action and enforce the

‘458 Patent against infringers, and to collect damages for all relevant times.

       39.     Roku made, had made, used, imported, provided, supplied, distributed, sold,

and/or offered for sale products and/or systems including, for example, its Roku Ultra, Roku

Ultra LT, and Roku Streaming Stick+ families of products that include 802.11ac capabilities

(“accused products”):




(Source: https://www.roku.com/products/compare)




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(Source: https://www.roku.com/products/compare)

       40.     By doing so, Roku has directly infringed (literally and/or under the doctrine of

equivalents) at least Claim 1 of the ‘458 Patent. Roku’s infringement in this regard is ongoing.

       41.     Roku has infringed the ‘458 Patent by making, having made, using, importing,

providing, supplying, distributing, selling or offering for sale products including an apparatus for

synchronizing a communication system. For example, the accused products can act and have

acted as a receiver in an apparatus for synchronizing a communication system. An 802.11 n/ac

compliant WiFi access point that is communicating with an accused product can be part of the

apparatus, acting as a transmitter. The accused products support IEEE 802.11 n/ac standards and

MIMO technology. The IEEE 802.11ac standard is backwards compatible with the 802.11n

standard. If a device such as an accused product complies with IEEE 802.11ac, it also complies

with IEEE 802.11n and all prior versions of the WiFi standards (802.11 a/b/g/n). According to

the 802.11a standard, the physical layer services include an OFDM system. According to the


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IEEE 802.11n standard, all Protocol Data Unit (PPDU) frame formats have training fields and

signaling fields which would help in synchronizing the communication system.




       (Source: 802.11ac: A Survival Guide: Wi-Fi at Gigabit and Beyond, Gast, Matthew S.)




       (Source: 802.11ac: A Survival Guide: Wi-Fi at Gigabit and Beyond, Gast, Matthew S.)




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(Source: https://standards.ieee.org/standard/802_11a-1999.html)




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




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       (Source: https://ieeexplore.ieee.org/document/7797535/)

       42.     The accused products include a number (Q) of Orthogonal Frequency Division

Multiplexing (OFDM) modulators, each OFDM modulator producing a frame having at least one

inserted symbol, a plurality of data symbols, and cyclic prefixes. According to the IEEE 802.11n

standard, a transmitter block contains different functional blocks which include, but are not

limited to, constellation mappers, IDFT stage, and Guard interval insertion. Constellation

mappers map the bits and the constellation points for different modulation schemes like QPSK,

BPSK, 16-QAM, 64-QAM. After modulating the signal, it is converted into time domain and is

transmitted as frames of data. These transmitted frames include training field bits, signal bits,

cyclic prefixes and data bits. Alternatively, on request from an accused product, an 802.11 n/ac

compliant WiFi access point can act as a transmitter that includes a number (Q) of OFDM

modulators, each OFDM modulator producing a frame having at least one inserted symbol, a

plurality of data symbols, and cyclic prefixes.




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(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

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       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       43.     The accused products include Q transmitting antennas, each transmitting antenna

connected to a respective OFDM modulator, the transmitting antennas configured to transmit a

respective frame over a channel. The accused products support MIMO and comply with IEEE

802.11 a/b/g/n/ac standards. The transmitting antennas transmit multiple OFDM frames over a

channel. The transmitting antennas are connected to OFDM modulators to transmit the OFDM

frames over a channel. Alternatively, on request from an accused product, a WiFi access point

acts as a device that includes Q transmitting antennas, each transmitting antenna connected to a

respective OFDM modulator, the transmitting antennas configured to transmit a respective frame

over a channel.




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(Source: https://www.roku.com/products/compare)




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(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       44.     The accused products include a number (L) of receiving antennas for receiving

the transmitted frames. For example, the accused products support MIMO and comply with

802.11 a/b/g/n/ac WiFi standards. The receiving antennas receive the transmitted frames.




(Source: https://www.roku.com/products/compare)

       45.     The accused products include L OFDM demodulators, each OFDM demodulator

corresponding to a respective receiving antenna, the L OFDM demodulators including a

synchronization circuit that processes the received frame in order to synchronize the received

frame in both time domain and frequency domain. For example, there is a demodulator block for

performing demodulation on the received frames. Further, synchronizing the received frame in

time and frequency domains occurs. In an OFDM transmitter section, a modulated signal is

converted into time domain and is transmitted as multiple frames of data. The functional blocks

present at the receiver end processes the received data, converts the data into frequency domain,

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and performs demodulation. Various signal bits present in the transmitted frames’ preamble

helps in demodulating the signal. A demodulator block is present at the receiver to perform

demodulation. Different fields of data like training bits, cyclic prefixes and other signal bits

present in the received frame helps in synchronizing the frame in both time and frequency

domain. There is a synchronization circuit which processes the received frame and synchronizes

them in both time and frequency domain.




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




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       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       46.     The accused products include wherein each of the L OFDM demodulators

comprises a pre-amplifier, a local oscillator, a mixer having a first input and a second input, the


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first input connected to an output of the pre-amplifier, the second input connected to an output of

the local oscillator, an analog-to-digital converter (ADC) connected to an output of the mixer.

The demodulating section at the receiver end includes a pre-amplifier, a local oscillator, a mixer,

and an ADC. The received frames undergo filtering, amplification (pre-amplifier), down-

conversion and sampling (ADC). There are respective functional blocks for performing these

functions. After transmitting the data, the data is received by a receiving antenna for further

processing. To prevent the demodulator from demodulating the noise associated with the

received signal, an RF front end circuit is implemented to increase the SNR of the demodulated

signal. The RF front end circuit generally consists of amplifiers, local oscillator, filters and

mixers. The output from the mixer is generally fed to an analog-to-digital converter (ADC).

This RF front end circuit generally lies at the start of the demodulation process.




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




       (Source: VLSI for Wireless Communication)




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(Source: VLSI for Wireless Communication)




(Source: VLSI for Wireless Communication)




(Source: RF Imperfections in High-rate Wireless Systems: Impact and Digital

Compression, Schenk, Tim)




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       (Source: https://www.eetimes.com/document.asp?doc_id=1276331)

       47.    The accused products include the synchronization circuit having one input

connected to an output of the ADC. The PPDU frames that are transmitted are demodulated at

the receiver end. The demodulation process includes estimating time and frequency offsets and

synchronizing accordingly.




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




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       (Source: https://www.eetimes.com/document.asp?doc_id=1276331)

       48.     The accused products include a cyclic-prefix remover connected to an output of

the synchronization circuit, a serial-to-parallel converter connected to an output of the cyclic

prefix remover, and a discrete Fournier transform (DFT) stage connected to an output of the

serial-to-parallel converter, an output of the DFT stage connected to another input to the

synchronization circuit. Cyclic prefixes are added in the preamble for each transmitted frame.

In a general OFDM system, a cyclic prefix remover circuit would be present at the receiver end.

The output from the cyclic prefix remover circuit would be fed to a serial-to-parallel converter

for performing a DFT operation on its output. The evidence also shows that the output of the

DFT stage is connected to the phase correction block that is part of the synchronization circuit.




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(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




(Source: RF Imperfections in High-rate Wireless Systems: Impact and Digital

Compression, Schenk, Tim)




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       (Source: Next Generation Wireless LANs: 802.11n and 802.11ac, Perahia, Eldad and

       Stacey, Robert)

       49.     Roku has had actual knowledge of the ‘458 Patent at least as of the date when it

was notified of the filing of this action. By the time of trial, Roku will have known and intended

(since receiving such notice) that its continued actions would infringe and actively induce and

contribute to the infringement of one or more claims of the ‘458 Patent.

       50.     American Patents has been damaged as a result of the infringing conduct by Roku

alleged above. Thus, Roku is liable to American Patents in an amount that adequately

compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

       51.     American Patents and/or its predecessors-in-interest have satisfied all statutory

obligations required to collect pre-filing damages for the full period allowed by law for

infringement of the ‘458 Patent.



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                                           COUNT IV

                DIRECT INFRINGEMENT OF U.S. PATENT NO. 6,847,803

       52.     On January 25, 2005, United States Patent No. 6,847,803 (“the ‘803 Patent”) was

duly and legally issued by the United States Patent and Trademark Office for an invention

entitled “Method for Reducing Interference in a Receiver.”

       53.     American Patents is the owner of the ‘803 Patent, with all substantive rights in

and to that patent, including the sole and exclusive right to prosecute this action and enforce the

‘803 Patent against infringers, and to collect damages for all relevant times.

       54.     Roku made, had made, used, imported, provided, supplied, distributed, sold,

and/or offered for sale products and/or systems including, for example, its Roku 4 and Roku

Ultra families of products, that include 802.11ac beamforming capabilities (“accused products”):




(Source: https://blog.roku.com/roku-4-unboxed)

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(Source:

https://web.archive.org/web/20161105183935/https://www.electronicproducts.com/Roku_4-

whatsinside_text-188.aspx)




(Source:

https://web.archive.org/web/20161105183935/https://www.electronicproducts.com/Roku_4-

whatsinside_text-188.aspx)

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(Source : https://www.marketscreener.com/BROADCOM-CORPORATION-

4855/news/Broadcom-Corporation-Broadcom-Launches-Enhanced-5G-WiFi-Video-Streaming-

for-the-Home-17753935/)




(Source : https://www.marketscreener.com/BROADCOM-CORPORATION-

4855/news/Broadcom-Corporation-Broadcom-Launches-Enhanced-5G-WiFi-Video-Streaming-

for-the-Home-17753935/)




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(Source : https://www.roku.com/products/roku-ultra)




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(Source : photo of product)




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(Source : https://www.realtek.com/en/products/communications-network-ics/item/rtl8812bu)




(Source: https://www.networkworld.com/article/3445039/beamforming-explained-how-it-

makes-wireless-communication-faster.html)




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       55.     By doing so, Roku has directly infringed (literally and/or under the doctrine of

equivalents) at least Claim 1 of the ‘803 Patent.

       56.     Roku has infringed the ‘803 Patent by using the accused products and thereby

practicing a method for reducing interference in a receiver for receiving information in receiving

time slots, in which receiver signals are received with at least a first antenna (ANT1) and a

second antenna (ANT2). For example, the accused products are and have been used by

Defendant to implement the IEEE 802.11-2016 Standard. Devices that can communicate using

802.11 protocol are known as Stations (STAs). Multiple Input Multiple Output (MIMO) and

Beamforming techniques are and have been used by a STA with multiple antennas for steering

the signals to each STA (“receiver”) for reception. In such MIMO transmissions, the space-time

streams in the transmitted signal would be intended for reception by each STA in its

corresponding time slots. These time slots at which the STA receives the space-time streams

with actual data information can be construed as receiving time slots. Since, there are multiple

antennas, when they transmit simultaneously, the signal appears as interference at each of the

receive antennas. Further, a STA will also be able to identify the space-time streams intended for

other STAs that act as interference. STA uses the channel state information that is obtained by

estimating a channel to reduce the interference caused by other space time streams. The

beamforming calibration procedures (“method for reducing interference”) involves channel

estimation and matrix calculations which help in reducing the interference in a receiver. Indeed,

the IEEE 802.11-2016 Standard shows MIMO systems with two STAs (i.e., STA A and STA B)

using multiple antennas (“a first antenna (ANT1) and a second antenna (ANT2)”) for receiving

transmitted signals.




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(Source : IEEE 802.11-2016 Standard, p. 2578)




(Source : IEEE 802.11-2016 Standard, p. 2392)




(Source : IEEE 802.11-2016 Standard, p. 2580)




(Source : https://www.pcmag.com/encyclopedia/term/sta)




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       (Source : IEEE 802.11-2016 Standard, p. 2393)

       57.      The methods practiced by Roku’s use of the accused products include methods

where signals are received with said first antenna (ANT1) and second antenna (ANT2) at

moments of time other than in said receiving time slot, when no information is being received.

For example, the accused products are and have been used by Defendant to implement the IEEE

802.11-2016 Standard. A STA in that Standard transmits data in PHY Protocol Data Units

(PPDUs). PPDUs can be transmitted in High Throughput (HT) mode and Very High Throughput

(VHT) mode. A Null Data Packet (NDP) can be transmitted in both HT and VHT Modes.

Training Fields (TFs) inside the NDP carry no data related information and can be used as

sounding PPDUs in beamforming calibration procedures. Sounding PPDUs would help in

channel estimation at the STA. Certain TFs include the interference information which is used

as reference during calibration procedures. The NDPs (“signals received”) in HT-PPDU and

VHT PPDU format includes several TFs which are and have been used as a reference for the

receiver to perform calibration/tuning. Thus, there is no actual data information that is received

during the beamforming calibration procedures (“at moments of time other than in said receiving

time slots”).


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(Source : IEEE 802.11-2016 Standard, p. 2393)




(Source : IEEE 802.11-2016 Standard, p. 2347)




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(Source : IEEE 802.11-2016 Standard, p. 2514)




(Source : IEEE 802.11-2016 Standard, p. 2347)




(Source : IEEE 802.11-2016 Standard, p. 157)




(Source : IEEE 802.11-2016 Standard, p. 163)




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(Source : IEEE 802.11-2016 Standard, p. 2580)




(Source : IEEE 802.11-2016 Standard, p. 1485)

       58.     The methods practiced by Roku’s use of the accused products include methods in

which a reference signal representing interference in said other time slot is formed and used for

the tuning of the receiver in said receiving time slots. For example, the accused products are and

have been used by Defendant to implement the IEEE 802.11-2016 Standard. In that Standard,

beamforming techniques are and have been used to improve the reception at a receiver STA.

These techniques use the channel state information and generate steering matrices for the

transmission of data. There are two types of beamforming methods described in the standard,

Implicit feedback beamforming and Explicit feedback beamforming. A steering matrix, Qk, is

calculated in both beamforming methods. Explicit feedback beamforming enables a beamformee


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i.e., receiving STA to calculate beamforming feedback matrix based on the received sounding

packets/PPDUs. NDPs can be used as sounding PPDUs and hence, no data/information is

received during the beamforming procedures. The Standard shows a scenario wherein STA A

(transmit STA) transmits a sounding packet (which can be NDP PPDU) that is used by STA B

(receiving STA) to calculate a beamforming feedback matrix Vk (“reference signal”). The

feedback matrix is later sent to STA A for determining a steering matrix which is used to tune

and re-calibrate the receiver STA in order to demodulate the transmitted signal. Implicit

feedback beamforming enables STA to estimate a MIMO channel and calculate channel

matrices, based on a received sounding PPDU. NDPs can be used as sounding PPDUs and hence,

no data/information is received during the beamforming procedures. The Standard shows a

scenario wherein STA A and STA B (receiving STA) follow beamforming calibration

procedures using sounding PPDUs. STA A and STA B will exchange sounding PPDUs (which

can be NDP PPDUs), using which each of the STAs will estimate respective channel matrices.

Quantized estimates of the channel matrices (“reference signal”) are sent from STA B to STA A.

Later, STA A uses its local estimates and the received quantized estimates from STA B to

calculate set of correction matrices. These correction matrices that are formed using the received

quantized estimates, are applied at transmit side of a STA to correct/tune the amplitude and

phase differences in transmit and receive chains. All the above discussed steps are performed as

a part of beamforming calibration procedures using sounding PPDUs. The Standard also shows

equations for the received signal with beamforming. The channel estimates and beamforming

steering matrix are and have been used to tune and re-calibrate the receiver in order to

demodulate the transmitted signal.




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(Source : IEEE 802.11-2016 Standard, p. 2392-2393)




(Source : IEEE 802.11-2016 Standard, p. 2393)




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(Source : IEEE 802.11-2016 Standard, p. 1477)




(Source : IEEE 802.11-2016 Standard, p. 1477)




(Source : IEEE 802.11-2016 Standard, p. 1477)



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(Source : IEEE 802.11-2016 Standard, p. 1477)




(Source : IEEE 802.11-2016 Standard, p. 2580)




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(Source : IEEE 802.11-2016 Standard, p. 2393)




(Source : IEEE 802.11-2016 Standard, p. 2395)




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(Source : IEEE 802.11-2016 Standard, p. 1475)




(Source : IEEE 802.11-2016 Standard, p. 2580)




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(Source : IEEE 802.11-2016 Standard, p. 2394)




(Source : IEEE 802.11-2016 Standard, p. 2401)




(Source : IEEE 802.11-2016 Standard, p. 2346)




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(Source : IEEE 802.11-2016 Standard, p. 2392-2393)




(Source : IEEE 802.11-2016 Standard, p. 2393)

       59.     American Patents has been damaged as a result of the infringing conduct by Roku

alleged above. Thus, Roku is liable to American Patents in an amount that adequately

compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.




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       60.     American Patents and/or its predecessors-in-interest have satisfied all statutory

obligations required to collect pre-filing damages for the full period allowed by law for

infringement of the ‘803 Patent.

             ADDITIONAL ALLEGATIONS REGARDING INFRINGEMENT

       61.     In addition to any specific products mentioned above, the accused products also

include at least the following products: Roku 4, Roku Ultra, Roku Ultra LT, and Roku Streaming

Stick+, Roku Express, Roku Express+, Roku Premiere, and Roku Streaming Stick+ HE.

       62.     Roku has also indirectly infringed the ‘782 Patent, the ‘304 Patent, the ‘458

Patent, and the ‘803 Patent by inducing others to directly infringe the ‘782 Patent, the ‘304

Patent, the ‘458 Patent, and the ‘803 Patent. Roku has induced the end-users, Roku’s customers,

to directly infringe (literally and/or under the doctrine of equivalents) the ‘782 Patent, the ‘304

Patent, the ‘458 Patent, and the ‘803 Patent by using the accused products.

       63.     Roku took active steps, directly and/or through contractual relationships with

others, with the specific intent to cause them to use the accused products in a manner that

infringes one or more claims of the patents-in-suit, including, for example, Claim 30 of the ‘782

Patent, Claim 1 of the ‘304 Patent, Claim 1 of the ‘458 Patent, and Claim 1 of the ‘803 Patent.

       64.     Such steps by Roku included, among other things, advising or directing customers

and end-users to use the accused products in an infringing manner; advertising and promoting the

use of the accused products in an infringing manner; and/or distributing instructions that guide

users to use the accused products in an infringing manner.

       65.     Roku has performed these steps, which constitute induced infringement, with the

knowledge of the ‘782 Patent, the ‘304 Patent, the ‘458 Patent, and the ‘803 Patent and with the

knowledge that the induced acts constitute infringement.



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        66.      Roku was and is aware that the normal and customary use of the accused products

by Roku’s customers would infringe the ‘782 Patent, the ‘304 Patent, the ‘458 Patent, and the

‘803 Patent. Roku’s inducement is ongoing.

        67.      Roku has also induced its affiliates, or third-party manufacturers, shippers,

distributors, retailers, or other persons acting on its or its affiliates’ behalf, to directly infringe

(literally and/or under the doctrine of equivalents) the ‘782 Patent, the ‘304 Patent, the ‘458

Patent, and the ‘803 Patent by importing, selling, offering to sell, and/or using the accused

products.

        68.      Roku has at least a significant role in placing the accused products in the stream

of commerce in Texas and elsewhere in the United States.

        69.      Roku directs or controls the making of accused products and their shipment to the

United States, using established distribution channels, for sale in Texas and elsewhere within the

United States.

        70.      Roku directs or controls the sale of the accused products into established United

States distribution channels, including sales to nationwide retailers.

        71.      Roku’s established United States distribution channels include one or more

United States based affiliates.

        72.      Roku directs or controls the sale of the accused products in nationwide retailers

such as Best Buy, Walmart, Office Depot, Staples, and Target, including for sale in Texas and

elsewhere in the United States, and expects and intends that the accused products will be so sold.

        73.      Roku took active steps, directly and/or through contractual relationships with

others, with the specific intent to cause such persons to import, sell, or offer to sell the accused

products in a manner that infringes one or more claims of the patents-in-suit, including, for



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example, Claim 30 of the ‘782 Patent, Claim 1 of the ‘304 Patent, Claim 1 of the ‘458 Patent,

and Claim 1 of the ‘803 Patent.

          74.   Such steps by Roku included, among other things, making or selling the accused

products outside of the United States for importation into or sale in the United States, or knowing

that such importation or sale would occur; and directing, facilitating, or influencing its affiliates,

or third-party manufacturers, shippers, distributors, retailers, or other persons acting on its or

their behalf, to import, sell, or offer to sell the accused products in an infringing manner.

          75.   Roku performed these steps, which constitute induced infringement, with the

knowledge of the ‘782 Patent, the ‘304 Patent, the ‘458 Patent, and the ‘803 Patent and with the

knowledge that the induced acts would constitute infringement.

          76.   Roku performed such steps in order to profit from the eventual sale of the accused

products in the United States.

          77.   Roku’s inducement is ongoing.

          78.   Roku has also indirectly infringed by contributing to the infringement of the ‘782

Patent, the ‘304 Patent, the ‘458 Patent, and the ‘803 Patent. Roku has contributed to the direct

infringement of the ‘782 Patent, the ‘304 Patent, the ‘458 Patent, and the ‘803 Patent by the end-

user of the accused products.

          79.   The accused products have special features that are specially designed to be used

in an infringing way and that have no substantial uses other than ones that infringe the ‘782

Patent, the ‘304 Patent, the ‘458 Patent, and the ‘803 Patent, including, for example, Claim 30 of

the ‘782 Patent, Claim 1 of the ‘304 Patent, Claim 1 of the ‘458 Patent, and Claim 1 of the ‘803

Patent.




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       80.     As described above, the special features include improved wireless

communication capabilities used in a manner that infringes the ‘782 Patent, the ‘304 Patent, the

‘458 Patent, and the ‘803 Patent.

       81.     The special features constitute a material part of the invention of one or more of

the claims of the ‘782 Patent, the ‘304 Patent, the ‘458 Patent, and the ‘803 Patent and are not

staple articles of commerce suitable for substantial non-infringing use.

       82.     Roku’s contributory infringement is ongoing.

       83.     Furthermore, Roku has a policy or practice of not reviewing the patents of others

(including instructing its employees to not review the patents of others), and thus has been

willfully blind of American Patents’ patent rights. See, e.g., M. Lemley, “Ignoring Patents,”

2008 Mich. St. L. Rev. 19 (2008).

       84.     Roku’s actions are at least objectively reckless as to the risk of infringing valid

patents and this objective risk was either known or should have been known by Roku.

       85.     Roku has knowledge of the ‘782 Patent, the ‘304 Patent, the ‘458 Patent, and the

‘803 Patent.

       86.     Roku’s customers have infringed the ‘782 Patent, the ‘304 Patent, the ‘458 Patent,

and the ‘803 Patent.

       87.     Roku encouraged its customers’ infringement.

       88.     Roku’s direct and indirect infringement of the ‘782 Patent, the ‘304 Patent, the

‘458 Patent, and the ‘803 Patent is, has been, and/or continues to be willful, intentional,

deliberate, and/or in conscious disregard of American Patents’ rights under the patents.

       89.     American Patents has been damaged as a result of the infringing conduct by Roku

alleged above. Thus, Roku is liable to American Patents in an amount that adequately



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compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

                 CLARIFICATION REGARDING PATENT EXPIRATION

       90.     For the avoidance of doubt, American Patents does not seek relief under any

asserted patent for acts occurring after the expiration of that patent.

                                         JURY DEMAND

       American Patents hereby requests a trial by jury on all issues so triable by right.

                                     PRAYER FOR RELIEF

       American Patents requests that the Court find in its favor and against Roku, and that the

Court grant American Patents the following relief:

       a.      Judgment that one or more claims of the ‘782 Patent, the ‘304 Patent, the ‘458

Patent, and the ‘803 Patent have been infringed, either literally and/or under the doctrine of

equivalents, by Roku and/or all others acting in concert therewith;

       b.      A permanent injunction enjoining Roku and its officers, directors, agents,

servants, affiliates, employees, divisions, branches, subsidiaries, parents, and all others acting in

concert therewith from infringement of the ‘782 Patent, the ‘304 Patent, and the ‘458 Patent; or,

in the alternative, an award of a reasonable ongoing royalty for future infringement of the ‘782

Patent, the ‘304 Patent, and the ‘458 Patent by such entities;

       c.      Judgment that Roku account for and pay to American Patents all damages to and

costs incurred by American Patents because of Roku’s infringing activities and other conduct

complained of herein, including an award of all increased damages to which American Patents is

entitled under 35 U.S.C. § 284;

       d.      That American Patents be granted pre-judgment and post-judgment interest on the



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damages caused by Roku’s infringing activities and other conduct complained of herein;

       e.     That this Court declare this an exceptional case and award American Patents its

reasonable attorney’s fees and costs in accordance with 35 U.S.C. § 285; and

       f.     That American Patents be granted such other and further relief as the Court may

deem just and proper under the circumstances.

Dated: November 16, 2020                    Respectfully submitted,

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